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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division

UNITED STATES OF AMERICA

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Ci_i§.` U.S. DlS'l'. CT.
v’.’.`l (:?'F' `i`l"\i, lViEiviFHlS

  
 

-vs- Case No. 2 :99cr20208-2-M1

JAMES WILLIAMS

 

ORDER OF DETENT|ON PEND|NG REVOCAT|ON

F|ND|NGS

In accordance with the Bail Reform Act, 18 U.S.C. § 3142(1), a detention hearing has been

held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the

safety of any other person and the community

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S .C.

§ 3142(g) as stated on the record in open court at the detention hearing

D|RECT|ONS REGARD|NG DETENT|ON

JAMES WILLIAMS is committed to the custody of the Attorney General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. JAMES WILLIAMS shall be afforded a reasonable opportunity for private
consultation with defense counsel On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for

the purpose of an appearance in connection with a Court proceeding

_____________
Date: June 9, 2005 w

`TU M. PHAM
UNITED sTATEs MAGIsrRATF. JUDGE

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 109 in
case 2:99-CR-20208 was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
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Ste. 800

l\/lemphis7 TN 38103

Honorable J on l\/lcCalla
US DISTRICT COURT

